8:21-cv-00192-BCB-CRZ                 Doc # 37        Filed: 07/22/22         Page 1 of 20 - Page ID # 269




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

    NEBRASKA FURNITURE MART, INC.,

                            Plaintiff,                                             8:21-CV-192

          vs.
                                                                   MEMORANDUM AND ORDER ON
    GUARDSMAN US LLC,                                              CROSS MOTIONS FOR SUMMARY
                                                                           JUDGMENT
                            Defendant.


                                            I.     INTRODUCTION

         Nebraska Furniture Mart, Inc., (NFM) has sued Guardsman US LLC, (Guardsman)

claiming that Guardsman owes it money under a “Retailer Agreement.” In the alternative, NFM

seeks application of the doctrines of equitable estoppel and promissory estoppel to require

Guardsman to pay the money NFM believes it is owed. Both parties have moved for summary

judgment. Filing 24; Filing 27. For the reasons stated herein, the Court grants Guardsman’s Motion

and denies NFM’s Motion.

                                            II.     BACKGROUND

         NFM is a Nebraska corporation that operates a large furniture store in Omaha, Nebraska

and has expanded to operate stores in several cities in the Midwest and Texas. Filing 25 at 3.1

Along with selling furniture, NFM partners with a third-party vendor to offer customers protection

plans for accidental stains and damage. Filing 25 at 3. Up until December 31, 2020, NFM’s third-

party vendor for furniture protection plans was Guardsman, a Delaware limited liability company.

Filing 25 at 3.




1
 The parties provided a list of stipulated facts with their Briefs supporting their Motions for Summary Judgment, from
which the Court draws its statement of facts unless it can rely on evidence in the record.

                                                          1
8:21-cv-00192-BCB-CRZ             Doc # 37      Filed: 07/22/22       Page 2 of 20 - Page ID # 270




        On November 15, 2018, NFM and Guardsman entered into a “Retailer Agreement.” Filing

26-1 at 1–5. The Retailer Agreement provided for a term from November 15, 2018, to December

31, 2020; mandated that NFM would only offer Guardsman protection plans; and outlined the

terms under which NFM would sell Guardsman protection plans to customers and how Guardsman

would handle claims. Filing 26-1 at 1–5. The Retailer Agreement also contained a survival clause

providing, “Each term of this Agreement which expressly survives expiration or termination of

this Agreement, or otherwise where the context reasonably requires, shall survive expiration or

termination of this Agreement.” Filing 26-1 at 5. The Retailer Agreement further stated that it

could only be amended by a written agreement signed by both parties. Filing 26-1 at 5.

Contemporaneous with the Retailer Agreement, both parties executed a “POS Addendum,” which

states that it is part of the Retailer Agreement. Filing 26-1 at 9.

        This suit arises from a dispute over a section in the Retailer Agreement titled “Trade

Program,” which states in full:

        Guardsman offers an annual Trade Program in the amount of 5% of the cost
        of plans purchased by the Retailer [(NFM)]. The percentage amount is based on
        continuing sales in all categories (fabric, leather, hard surface case goods, area rugs,
        outdoor furniture, Gold, window treatment, carpet, adjustable bed and furniture
        care products). The Trade Program is subject to change if NFM changes vendors in
        any of the protection categories. The trade program dollars are to be re-invested
        in the Guardsman protection program to help increase the overall close ratio
        performance of the program. The Trade Program is paid annually and will
        not be issued if Retailer has a past due balance. Trade programs are subject to
        reevaluation on an annual (calendar year) basis and in the event any changes are
        made to the Trade Program, Guardsman agrees to provide retailer with notice
        detailing the proposed change(s) at least 30 days in advance of any change going
        into effect. In the event of a change to the Trade Program, within 20 days after
        Retailer Receiving notice of a change, Retailer may terminate this Agreement
        without penalty. If retailer Terminates this agreement subject to this section, the
        Agreement shall terminate in 90 days post Retailers [sic] election to terminate.

Filing 26-1 at 8 (emphasis added). Pursuant to the trade program governed by the above section,

in January of 2020, Guardsman paid NFM five percent of the net sales of its protection plans

                                                   2
8:21-cv-00192-BCB-CRZ          Doc # 37      Filed: 07/22/22   Page 3 of 20 - Page ID # 271




purchased by NFM’s customers in 2019 by check, which NFM used to fund incentives to its

employees to encourage them to sell more Guardsman protection plans in 2020. Filing 25 at 6.

After the expiration of the Retailer Agreement on January 1, 2021, NFM discontinued selling

Guardsman protection plans, causing Guardsman to refuse to pay NFM five percent of the net

sales of its protection plans made in 2020. Filing 25 at 3–6. This dispute concerns whether

Guardsman must pay five percent of the net sales of its protection plans made in 2020 to NFM,

which the parties agree equals $330,971.16. Filing 25 at 6.

       During the term of the Retailer Agreement, Guardsman’s Vice President of Sales, Kerry

Lawless, signed two documents on Guardsman’s behalf. On March 29, 2019, Lawless signed a

“Vendor Participation Agreement,” which was effective from January 1, 2019, to December 31,

2019. Filing 26-3 at 1. The Vendor Participation Agreement is printed on NFM letterhead and

states that Guardsman will give NFM “Anniversary Support” in the amount of $110,000 to be paid

quarterly in $27,500 increments and a “Volume Rebate” in the amount of a “5% rebate based on

net receiving.” Filing 26-3 at 1. According to NFM, the rebate delineated in the Vendor

Participation Agreement refers to the five percent reimbursement provided in the “Trade Program”

section of the Retailer Agreement and required Guardsman to pay an unconditional rebate to NFM.

Filing 28 at 8, 18. Guardsman disputes the relevancy of the Vendor Participation Agreement

because it is not an enforceable amendment or modification to the Retailer Agreement and is

separate from the “Trade Program.” Filing 32 at 3, 10.

       Additionally, on March 19, 2020, Lawless signed a document titled “Funding Program,”

which has an effective date from January 1, 2020, to December 31, 2020. Filing 26-2 at 1–2.

Similar to the Vendor Participation Agreement, the Funding Program document is printed on NFM

letterhead and states that Guardsman will provide NFM with “Anniversary Support” in the amount



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8:21-cv-00192-BCB-CRZ           Doc # 37      Filed: 07/22/22     Page 4 of 20 - Page ID # 272




of $125,000, to be paid quarterly in $31,250 increments, and a “Rebate Amount” of “5%.” Filing

26-2 at 1. Directly above the signature line, the Funding Program document states, “By signing

this form, you confirm that all information stated above is accurate and will be upheld via the

Vendor Master Agreement.” Filing 26-2 at 2. NFM argues that the Funding Program document

“confirmed” Guardsman’s obligation to pay the five percent of the net sales of Guardsman

protection plans to NFM as an unconditional “rebate” for the year 2020. Filing 28 at 7, 14–16.

Guardsman disputes the relevancy of the Funding Program document because it is not an

enforceable agreement and did not amend the Retailer Agreement. Filing 32 at 1–2, 9–14.

       On May 17, 2021, NFM filed suit against Guardsman, claiming that Guardsman breached

the Retailer Agreement by refusing to pay NFM five percent of the net sales of the Guardsman

protection plans for 2020. Filing 1. NFM also states in its Complaint that, by signing the Vendor

Participation Agreement and the Funding Program document, Guardsman is equitably estopped

from denying that the payment under the Trade Program is an unconditional rebate that must be

paid to NFM. Filing 1 at 6–7. Alternatively, NFM also alleges that the doctrine of promissory

estoppel, in conjunction with Guardsman signing the Vendor Participation Agreement and the

Funding Program document, requires Guardsman to pay NFM five percent of the net sales of the

Guardsman protection plans for 2020. Filing 1 at 7–8. On March 25, 2022, both parties cross-

moved for summary judgment. Filing 24; Filing 27.

                                       III.    ANALYSIS

                                      A. Standard of Review

       Under Rule 56 of the Federal Rules of Civil Procedure, “[t]he court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. (a). “ʻOnly disputes over facts



                                                4
8:21-cv-00192-BCB-CRZ           Doc # 37      Filed: 07/22/22      Page 5 of 20 - Page ID # 273




that might affect the outcome of the suit under the governing law will properly preclude the entry

of summary judgment.’” Rusness v. Becker Cnty., 31 F.4th 606, 614 (8th Cir. 2022) (quoting Doe

v. Dardanelle Sch. Dist., 928 F.3d 722, 725 (8th Cir. 2019), in turn quoting Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986)). “The moving party bears the burden of showing the

absence of a genuine dispute.” Glover v. Bostrom, 31 F.4th 601, 603 (8th Cir.) (citing Fed. R. Civ.

P. 56(a)), reh’g denied, No. 20-2884, 2022 WL 1564097 (8th Cir. May 18, 2022). The party

opposing summary judgment must “cit[e] particular materials in the record” or show that the

“materials cited do not establish the ... absence of a genuine dispute.” Fed. R. Civ. P. 56(c)(1). On

a motion for summary judgment, “a district court should ‘not weigh the evidence, make credibility

determinations, or attempt to discern the truth of any factual issue.’” Avenoso v. Reliance Standard

Life Ins. Co., 19 F.4th 1020, 1024 (8th Cir. 2021) (quoting Great Plains Real Est. Dev., L.L.C. v.

Union Cent. Life Ins., 536 F.3d 939, 943-44 (8th Cir. 2008)). Instead, the court must view the

evidence in the light most favorable to the non-moving party and afford that party all reasonable

inferences supported by the evidence. Grinnell Mut. Reinsurance Co. v. Dingmann Bros. Constr.

of Richmond, Inc., 34 F.4th 649, 652 (8th Cir. 2022); Pearson v. Logan Univ., 937 F.3d 1119, 1124

(8th Cir. 2019). “The Supreme Court's ‘repeated’ admonition is that ‘the plaintiff, to survive the

defendant's [summary judgment] motion, need only present evidence from which a jury might

return a verdict in his favor.’” Doe by next friend Rothert v. Chapman, 30 F.4th 766, 772 (8th Cir.

2022) (quoting Anderson, 477 U.S. at 257).

                                          B. Choice of Law

       Before the Court can address the parties’ arguments in support of their Motions for

Summary Judgment on NFM’s breach-of-contract claim, it must first determine which states’

substantive law governs this dispute. Throughout its Brief in Support of its Motion for Summary



                                                 5
8:21-cv-00192-BCB-CRZ            Doc # 37       Filed: 07/22/22       Page 6 of 20 - Page ID # 274




Judgment, NFM cites a mixture of Nebraska and Delaware law. Filing 28. In contrast, Guardsman

notes that the Retailer Agreement includes a choice-of-law provision stating that Delaware law

governs, exclusively cites Delaware law when arguing about substantive issues, and faults NFM

for relying on Nebraska law. Filing 32. Because the parties dispute which state’s substantive law

applies, the Court must undertake a choice-of-law analysis. Cf. BBSerCo, Inc. v. Metrix Co., 324

F.3d 955, 960 n.3 (8th Cir. 2003) (noting that when neither party raised a conflict-of-law issue, the

forum state’s substantive law applies by default). But see Fredericks Peebles & Morgan LLP v.

Assam, 915 N.W.2d 770, 780 (Neb. 2018) (“In answering any choice-of-law question, a court first

asks whether there is any real conflict between the laws of the states.”).

       “A district court sitting in diversity jurisdiction applies the conflict of law rules for the state

in which it sits.” DCS Sanitation Mgmt., Inc. v. Castillo, 435 F.3d 892, 895 (8th Cir. 2006). “In

deciding choice-of-law questions, Nebraska follows the Restatement (Second) of Conflict of Laws

(Restatement).” Id.; accord In re Est. of Greb, 848 N.W.2d 611, 622 (Neb. 2014) (“For the

resolution of conflict of laws involving contracts, this court has adopted the Restatement (Second)

of Conflict of Laws § 188.28.”); Am. Nat. Bank v. Medved, 801 N.W.2d 230, 237 (Neb. 2011)

(adopting § 187 of the Restatement (Second) of Conflict of Laws). Generally, Nebraska courts

honor choice-of-law provisions in contracts. See Castillo, 435 F.3d at 895; Medved, 801 N.W.2d

at 236 (“We have recognized that persons residing in different states may select the law of either

state to govern their contract and that the parties’ choice of law will govern.”).

       Here, the Retailer Agreement has a choice-of-law provision stating that Delaware law

governs. Filing 26-1 at 4. Therefore, Delaware law will apply “if the particular issue is one which

the parties could have resolved by an explicit provision in their agreement directed to that issue.”

Medved, 801 N.W.2d at 236 (quoting Restatement (Second) of Conflict of Laws § 187(1) (1971)).



                                                   6
8:21-cv-00192-BCB-CRZ           Doc # 37      Filed: 07/22/22      Page 7 of 20 - Page ID # 275




There is no indication that the issues in this case could not have been resolved by an explicit

provision in the Retailer Agreement. The parties are asking the Court to apply general principles

of contract law to determine whether a provision in the Retailer Agreement requires Guardsman

to pay money to NFM. Accordingly, the Court will enforce the choice-of-law provision in the

Retailer Agreement and apply Delaware law to resolve NFM’s breach-of-contract claim.

                                     C. Contract Interpretation

       Have dispensed with the preliminary issue of which law applies in this case, the Court turns

to the “Trade Program” section of the Retailer Agreement to determine whether it requires

Guardsman to pay five percent of the net sales of its protection plans for 2020 to NFM. Both parties

argue that the unambiguous terms of the “Trade Program” section clearly support their respective

positions. The Court therefore turns to whether there is any ambiguity in the terms within the

“Trade Program” section and, if not, the meaning of the section’s plain terms.

       Contract interpretation is a matter of law. Exelon Generation Acquisitions, LLC v. Deere

& Co., 176 A.3d 1262, 1266–67 (Del. 2017). The objective of contract interpretation is to

determine “the intent of the parties from the language of the contract.” Cox Commc’ns, Inc. v. T-

Mobile US, Inc., 273 A.3d 752, 754 (Del. 2022), reargument denied (Mar. 22, 2022). To that end,

courts must decide what “an objective, reasonable third party” would understand a contract to

mean. Id. “The Court must ‘interpret clear and unambiguous terms according to their ordinary

meaning,’ and in an ‘unambiguous, integrated written contract,’ the Court may not use extrinsic

evidence to ‘vary[ ] or contradict[ ] the terms of that contract.’” Bathla v. 913 Mkt., LLC, 200 A.3d

754, 759–60 (Del. 2018) (internal footnotes omitted) (alterations in original) (first quoting GMG

Cap. Invs., LLC v. Athenian Venture Partners I, L.P., 36 A.3d 776, 779 (Del. 2012) and then

quoting Galantino v. Baffone, 46 A.3d 1076, 1081 (Del. 2012)). A court may only consider



                                                 7
8:21-cv-00192-BCB-CRZ           Doc # 37       Filed: 07/22/22     Page 8 of 20 - Page ID # 276




extrinsic evidence when a contract is ambiguous. Cox Commc’ns, 273 A.3d at 754. “The test for

ambiguity is whether “the provisions in controversy are fairly susceptible of different

interpretations or may have two or more different meanings.” Bathla, 200 A.3d at 760. Ambiguity

does not arise simply because each party supplies different interpretations to a contract, id., unless

each party’s interpretation is objectively reasonable. See GMG Cap. Invs., 36 A.3d at 781 (holding

that because both parties offered reasonable interpretations, the agreement was ambiguous).

       Delaware courts use several guidelines when engaging in contract interpretation. First,

courts must “construe the agreement as a whole, giving effect to all provisions therein.” Id.

(quoting E.I. du Pont de Nemours & Co. v. Shell Oil Co., 498 A.2d 1108, 1113 (Del. 1985)).

Second, a court should read a contract in a way the does not render any part of the contract illusory,

meaningless, or mere surplusage. In re Verizon Ins. Coverage Appeals, 222 A.3d 566, 575 (Del.

2019) (holding that contract interpretation should not make any provision “illusory or

meaningless”); Kuhn Const., Inc. v. Diamond State Port Corp., 990 A.2d 393, 396–97 (Del. 2010)

(holding that contract interpretation should not make any part of the contract “mere surplusage”).

Finally, when an interpretation “produces an absurd result or one that no reasonable person would

have accepted when entering the contract,” the interpretation is unreasonable. Osborn ex rel.

Osborn v. Kemp, 991 A.2d 1153, 1160 (Del. 2010).

       Both NFM and Guardsman agree that the “Trade Program” section is expressed in

unambiguous terms but attach two different interpretations to it. NFM focuses on the part of the

“Trade Program” section which states, “The Trade Program is paid annually.” Filing 26-1 at 8;

Filing 28 at 12. NFM emphasizes that nothing in the section says that the Trade Program funds

will not be paid for the last year of the Retailer Agreement, i.e., 2020, and thus it requires

Guardsman to pay NFM five percent of the net sale of the protection plans for 2020. Filing 28 at



                                                  8
8:21-cv-00192-BCB-CRZ           Doc # 37      Filed: 07/22/22     Page 9 of 20 - Page ID # 277




12. Although recognizing that the section also provides that the Trade Program funds “are to be

re-invested in the Guardsman protection program to help increase” the sale of Guardsman

protection plans, NFM argues that this reinvestment requirement did not survive the expiration of

the Retailer Agreement. Filing 28 at 13. Instead, NFM looks to the Retailer Agreement’s survival

clause, which provides that a term of the Retailer Agreement will survive expiration of the Retailer

Agreement when the “context reasonably requires.” Filing 26-1 at 5. According to NFM,

application of the survival clause means that Guardsman’s obligation to pay the Trade Program

funds survived the expiration of the Retailer Agreement because that payment could only be

calculated after the Retailer Agreement ended, while NFM’s reinvestment obligation did not

survive because there was no longer any Guardsman protection program in which to invest. Filing

28 at 13–14. In other words, NFM believes that the “context reasonably requires” that the part of

the “Trade Program” compelling Guardsman to pay five percent of the net sales of Guardsman

protection plans to NFM survived while NFM’s corresponding obligation to reinvest those funds

did not. Filing 28 at 13–14.

       Naturally, Guardsman disagrees with NFM that the “Trade Program” section contemplates

paying NFM without requiring NFM to reinvest that payment into the Guardsman protection

program. Rather, Guardsman contends that the language of the section shows an intent to promote

the sale of more protection plans by providing NFM funds to encourage NFM employees to sell

protection plans, not to provide NFM with a commission or an unconditional rebate. Filing 25 at

13. According to Guardsman, when the Retailer Agreement ended on December 31, 2020, the

“Trade Program” ended along with it. Filing 32 at 6. Thus, while NFM parses out parts of the

“Trade Program” section, arguing that some survive and others do not, Guardsman contends that

the “Trade Program” section wholly survives or wholly ends.



                                                 9
8:21-cv-00192-BCB-CRZ                 Doc # 37         Filed: 07/22/22           Page 10 of 20 - Page ID # 278




         The Court begins by observing that the “Trade Program” section governs an annual

program. The section states that Guardsman offers an “annual” program that is subject to change

“on an annual (calendar year) basis” and paid “annually.” Filing 26-1 at 8. Looking at how the

program operates each year, the section explains that Guardsman offers “5% of the cost of the

plans purchased by the Retailer,” which, apparently, means five percent of the net sales of the

protection plans to NFM customers.2 Filing 26-1 at 8. The section goes on to say that the “trade

program dollars are to be reinvested in the Guardsman protection program to help increase the

overall close ratio performance of the program.” Filing 26-1 at 8. Put more simply, this provision,

stated in mandatory and not permissive terms, requires NFM to reinvest the five percent of the net

sales paid by Guardsman to increase the number of Guardsman protection plans sold to NFM

customers. Reading these terms together, the “Trade Program” section governs an annual program

through which Guardsman would pay NFM five percent of the previous year’s net sales of

Guardsman protection plans to be used to increase the number of protection plans sold in the future.

         The fact that the “Trade Program” section governs an annual program designed to boost

the sale of protection plans informs the result in this case. As part of an annual program, the

obligation to pay and the requirement to reinvest arise yearly; they are not separate from one

another. Instead, both parties’ obligations are tied together. The section dictates that, each year,

Guardsman would calculate and pay five percent of the previous years’ net sales to NFM to be

used by NFM to increase future sales. However, when the Retailer Agreement ended after

December 31, 2020, the Trade Program also terminated. There simply was no Trade Program for




2
 Because there is no dispute over what constitutes “5% of the cost of the plans purchased by the Retailer”—both
parties have stipulated that it means the net sales of the protection plans sold to NFM customers—the fact that this
provision does not clearly state that the payment is calculated at five percent of the net sales of the protection plans to
NFM customers has no bearing on the Court’s analysis.

                                                           10
8:21-cv-00192-BCB-CRZ          Doc # 37      Filed: 07/22/22      Page 11 of 20 - Page ID # 279




2021 that required Guardsman to make a payment for NFM to reinvest. Thus, when the Retailer

Agreement expired, Guardsman’s obligation to pay expired as well.

       NFM believes it can sidestep this result by relying on the Retailer Agreement’s survival

clause. NFM is mistaken. The survival clause allows terms of the Retailer Agreement to survive

termination of the Retailer Agreement when “the context reasonably requires.” NFM argues that

because Guardsman could not pay the Trade Program funds for the 2020 sales until 2021, when

the net sales for 2020 could be calculated, the context reasonably requires that Guardsman’s

obligation to pay survives the expiration of the Retailer Agreement. NFM further asserts that its

obligation to reinvest did not survive, because the context shows that it could not reinvest to boost

the sale of protection plans it was no longer selling. This argument misses the mark. Because the

only reasonable construction of the “Trade Program” provision shows that the obligation to pay

and the obligation to reinvest are tied together, the issue is not whether one obligation can survive

while the other does not. The issue is whether the Trade Program as a whole survives. It does not.

After December 31, 2020, the Trade Program ended along with the Retailer Agreement.

       As Guardsman correctly notes, there is no indication in the terms of the “Trade Program”

section that Guardsman intended to reward NFM for selling Guardsman protection plans without

any strings attached. To argue otherwise would impose an unreasonable reading on the “Trade

Program” section. See Cox Commc’ns, 273 A.3d at 754 (noting that contract interpretation asks

what “an objective, reasonable third party” would understand a contract to mean). The section does

not allow NFM to enjoy the benefit of the funds without the burden of reinvestment. Instead, the

funds are paid yearly so that NFM can boost the sale of Guardsman’s protection plans. When the

Retailer Agreement expired at the end of 2020, Guardsman’s obligation to pay NFM for the Trade

Program in 2021 also expired. Accordingly, as a matter of law, the plain meaning of the



                                                 11
8:21-cv-00192-BCB-CRZ          Doc # 37      Filed: 07/22/22     Page 12 of 20 - Page ID # 280




unambiguous terms of the “Trade Program” section provides that the Trade Program, along with

Guardsman’s obligation to pay the Trade program funds to NFM, ended when the Retailer

Agreement expired. See Osborn, 991 A.2d at 1159–60 (“When the contract is clear and

unambiguous, [the court] will give effect to the plain-meaning of the contract’s terms and

provisions.”). Therefore, the Court concludes that the section does not require Guardsman to pay

five percent of the net sales of Guardsman protection plans for the 2020 year.

        D. The Vendor Participation Agreement and the Funding Program Document

       Having concluded that the unambiguous terms of the “Trade Program” section do not

require Guardsman to pay NFM, the Court turns to NFM’s other arguments. NFM first argues that

the Vendor Participation Agreement provided a five percent rebate to NFM in 2019 and therefore

“confirms” that the “Trade Program” section obligates Guardsman to pay five percent of the net

sales of its protection plans for 2020. Filing 30 at 21–22. However, extrinsic evidence, such as the

Vendor Participation Agreement, cannot be considered by the Court to alter the “Trade Program”

section’s plain and unambiguous meaning. Exelon Generation Acquisitions, LLC v. Deere & Co.,

176 A.3d 1262, 1267 (Del. 2017) (“If a contract is unambiguous, extrinsic evidence may not be

used to interpret the intent of the parties, to vary the terms of the contract, or to create an

ambiguity.”). As this Court has already concluded, the “Trade Program” section is unambiguous,

and the plain meaning of its terms does not require Guardsman to pay five percent of the net sales

of its plans from 2020 to NFM.

       Finally, NFM argues that the “Funding Program” document is an agreement that separately

requires Guardsman to pay five percent of the net sales of its plan from 2020 to NFM. Filing 28 at

14–18; Filing 30 at 9–15. According to NFM, the “Funding Program” document is an amendment

to the Retailer Agreement in which the parties agreed that the Trade Program funds would be paid



                                                12
8:21-cv-00192-BCB-CRZ          Doc # 37      Filed: 07/22/22     Page 13 of 20 - Page ID # 281




as a “rebate.” NFM emphasizes that Black’s Law Dictionary defines “rebate” as “[a] return of part

of a payment, serving as a discount or reduction.” Filing 28 at 15 (citing Rebate, Black’s Law

Dictionary (11th ed. 2019)). Therefore, NFM contends, the “Funding Program” document

amended the “Trade Program” section of the Retailer Agreement to turn the Trade Program funds

paid by Guardsman into a rebate and to eliminate NFM’s corresponding obligation to reinvest the

funds to promote the future sale of Guardsman protection plans. The Court disagrees.

       The “Funding Program” document is sparse. It consists of a little more than two pages, a

large portion of which is blank. Filing 26-2 at 1. The document bears NFM’s letterhead at the top

and refers to itself as an “agreement,” although its appearance is more like a form used to collect

information. After listing “Guardsman” as the “Vendor Name” in a section titled “Contact

Information”—which contains no contact information—the document provides for “Payment

Terms” of “8.75%/45 Days ACH.” Below “Section 3” and “Section 4,” which are blank and

marked as inapplicable, is a section titled “Volume-Based Funds.” Within that section, which says

that the funds are based on “Net Receipts” and that the “Method of Payment” is “Check,” is a

heading titled “Rebate Amount.” Underneath the “Rebate Amount” heading, the “Funding

Program” document simply states “5%.” The last section of the “Funding Program” document

states, “By signing this form, you confirm that all information stated above is accurate and will be

upheld via the Vendor Master Agreement.” Filing 26-2 at 2. Guardsman’s agent’s signature then

follows.

       The Court concludes that the “Funding Program” document did not amend the “Trade

Program” section of the Retailer Agreement as NFM argues. Nothing in this document shows that

NFM and Guardsman intended to amend the “Trade Program” section of the Retailer Agreement.

Cox Commc’ns, 273 A.3d at 754 (“The objective of contract interpretation is to determine ‘the



                                                13
8:21-cv-00192-BCB-CRZ               Doc # 37         Filed: 07/22/22         Page 14 of 20 - Page ID # 282




intent of the parties from the language of the contract.’” (quoting Exelon, 176 A.3d at 1267)).

Indeed, neither the Retailer Agreement nor the Trade Program appear by name anywhere in the

“Funding Program” document. If the parties intended to amend an agreement, surely they could

have included the name of the agreement and the provision they wanted to amend in the

amendment. Instead, the “Funding Program” document states that the “information” in “this form”

“will be upheld via the Vendor Master Agreement.” Filing 26-2 at 2. Thus, the document

contemplates enforcement via a separate agreement—what the document calls a “Vendor Master

Agreement”—rather than on its own terms. It therefore appears to be little more than a form used

to collect and verify information.

        NFM’s focus on the “Funding Program” listing the “Rebate Amount” as “5%” is

unavailing. Again, this part of the document provides no indication that it was meant to amend the

“Trade Program” section of the Retailer Agreement. Nor is it of any significance that the word

“rebate” is used. NFM points to the definition of “Rebate” in Black’s Law Dictionary to argue that

it shows that Guardsman intended to provide NFM with a five percent refund based on net sales

of protection plans in 2020. Dictionary definitions confirm that a “rebate” is commonly understood

as a partial refund of payment.3 The problem for NFM is that the definition of rebate is not

inconsistent with how the Trade Program functioned as outlined in the Retailer Agreement.

Guardsman was providing a partial refund to NFM, but also required that the refund be reinvested

in promoting future sales of protection plans. Nothing in the various definitions of “rebate”

precludes conditioning how a partial refund is to be used by the party receiving the refund.


3
 See Rebate, Black’s Law Dictionary (11th ed. 2019) (defining rebate as “A return of part of a payment, serving as a
discount or reduction”); Rebate, Merriam-Webster’s Unabridged Dictionary, https://unabridged.merriam-
webster.com/unabridged/rebate (accessed June 17, 2022) (defining rebate as “a retroactive abatement, credit, discount
or refund (as from a wholesaler to a retailer) usually as consideration for a specified volume of business”); Rebate,
Oxford English Dictionary, (3d ed. 2007), https://www.oed.com/view/Entry/159163?rskey=5w1DKt&result
=1&isAdvanced=false#eid (defining rebate as “A deduction from a sum of money to be paid; a discount; esp. (in later
use) one given retrospectively; a partial refund of money paid”).

                                                        14
8:21-cv-00192-BCB-CRZ          Doc # 37       Filed: 07/22/22    Page 15 of 20 - Page ID # 283




Therefore, the fact that the word rebate is used does not show an intent to amend the “Trade

Program” section of the Retailer Agreement to provide NFM with an unconditional partial refund.

       Moreover, even if the definition of “rebate” implied that a rebate comes with no strings

attached, that would not matter. While it is true that Delaware Courts will look to dictionary

definitions to construe terms in an agreement, see Express Scripts, Inc. v. Bracket Holdings Corp.,

248 A.3d 824, 834 (Del. 2021) (using dictionary definitions to interpret a contract), dictionary

definitions must be read in “the context of the contract language and circumstances.” Lorillard

Tobacco Co. v. Am. Legacy Found., 903 A.2d 728, 740 (Del. 2006). As the Delaware Supreme

Court has warned, “A meaning inferred from a particular provision cannot control the agreement

if that inference conflicts with the agreement's overall scheme.” Norton v. K-Sea Transp. Partners

L.P., 67 A.3d 354, 360 (Del. 2013). Here, the parties agreed in the Retailer Agreement to engage

in an annual trade program in which Guardsman paid NFM five percent of the net sales of its

protection plans and NFM reinvested the payment to boost the sales of the protection plans in the

future. Nothing in the “Funding Program” document shows that it intended to significantly alter

that program and change it from a “reimbursement and reinvestment” program into a standard

volume-based discount. The Court will not read into the “Funding Program” document an intent

to change the Trade Program when it is not reflected by the plain language. Cf. Murfey v. WHC

Ventures, LLC, 236 A.3d 337, 350 (Del. 2020) (warning that “[i]mplying terms into a written

contract should be a cautious enterprise”).

       As a matter of law, the “Funding Program” document’s terms are unambiguous, and their

plain meaning does not show any intent to amend the “Trade Program” section of the Retailer

Agreement. Guardsman is not required to provide five percent of the net sales of its protection




                                                15
8:21-cv-00192-BCB-CRZ           Doc # 37      Filed: 07/22/22      Page 16 of 20 - Page ID # 284




plans in 2020 to NFM. Accordingly, the Court grants Guardsman summary judgment on NFM’s

breach-of-contract claim.

                          E. Equitable Estoppel and Promissory Estoppel
       Guardsman also requests that the Court grant it summary judgment on the issues of

equitable estoppel and promissory estoppel. Filing 25 at 22–28. NFM makes no argument in

response except to say that the “primary thrust” of its Complaint was breach of contract, and

because it should prevail on the merits of that claim, it need not address the estoppel issues further.

Filing 30 at 22. In fact, NFM characterizes these issues as “duplicative.” Filing 30 at 22. The Court

grants Guardsman summary judgment on the issues of equitable estoppel and promissory estoppel.

       In a diversity case, such as this one, the applicability of equitable estoppel and promissory

estoppel is governed by the law of the forum state. Razorback Concrete Co. v. Dement Const. Co.,

LLC, 688 F.3d 346, 349 (8th Cir. 2012) (“As a federal court sitting in diversity jurisdiction, we

apply the law that the forum state would apply.” (quoting Winthrop Res. Corp. v. Stanley Works,

259 F.3d 901, 904 (8th Cir. 2001)). Therefore, Nebraska law on equitable estoppel and promissory

estoppel applies. See Immigr. L. Grp., LLP v. McKitrick, 484 F.3d 998, 1001 (8th Cir. 2007)

(applying Missouri law on equitable estoppel in a case brought in Missouri); Moses.com Sec., Inc.

v. Comprehensive Software Sys., Inc., 406 F.3d 1052, 1061 (8th Cir. 2005) (applying Missouri law

on promissory estoppel in a case brought in Missouri).

       In its Complaint, NFM alleges that “Guardsman is equitably estopped from arguing that

the 2020 Trade Program Funds are not a rebate” because, in the Vendor Participation Agreement

and the “Funding Program” document, Guardsman “agreed” and “confirmed” that there would be

a five percent rebate. Filing 1 at 7. “Equitable estoppel is a bar which precludes a party from

denying or asserting anything to the contrary of those matters established as the truth by his own

deeds, acts, or representations.” Berrington Corp. v. State Dep’t of Revenue, 773, 765 N.W.2d 448,

                                                  16
8:21-cv-00192-BCB-CRZ              Doc # 37   Filed: 07/22/22     Page 17 of 20 - Page ID # 285




455 (Neb. 2009). The Nebraska Supreme Court has outlined the requirements for a party to invoke

equitable estoppel as follows:

       The elements of equitable estoppel are, as to the party estopped: (1) conduct which
       amounts to a false representation or concealment of material facts, or at least which
       is calculated to convey the impression that the facts are otherwise than, and
       inconsistent with, those which the party subsequently attempts to assert; (2) the
       intention, or at least the expectation, that such conduct shall be acted upon by, or
       influence, the other party or other persons; and (3) knowledge, actual or
       constructive, of the real facts. As to the other party, the elements are: (1) lack of
       knowledge and of the means of knowledge of the truth as to the facts in question;
       (2) reliance, in good faith, upon the conduct or statements of the party to be
       estopped; and (3) action or inaction based thereon of such a character as to change
       the position or status of the party claiming the estoppel, to his or her injury,
       detriment, or prejudice.

Id. (internal footnote omitted).

       The Court agrees with Guardsman that NFM has offered no evidence to support the

application of equitable estoppel in this case to prevent Guardsman from arguing that the 2020

Trade Program funds are not an unconditional rebate. See Bedford v. Doe, 880 F.3d 993, 996 (8th

Cir. 2018) (stating that the moving party at summary judgment “can show that the nonmoving

party does not have enough evidence of an essential element of its claim to carry its ultimate burden

of persuasion at trial”). NFM essentially concedes this issue by declining to even address it in its

briefing or cite any evidence to support its claim. See Whittington v. Tyson Foods, Inc., 21 F.4th

997, 1002 n.4 (8th Cir. 2021) (holding that the plaintiff waived an argument he failed to raise in

his brief support his cross-motion for summary judgment or in his brief opposing the defendant’s

summary judgment motion); Paskert v. Kemna-ASA Auto Plaza, Inc., 950 F.3d 535, 540 (8th Cir.

2020) (“[T]he non-moving party is responsible for demonstrating any genuine dispute of material

fact that would preclude summary judgment.”). The fact that NFM wholly abandoned its burden

on summary judgment is sufficient to find that summary judgment in Guardsman’s favor is

warranted.

                                                 17
8:21-cv-00192-BCB-CRZ          Doc # 37      Filed: 07/22/22      Page 18 of 20 - Page ID # 286




       NFM does not point to any evidence in the record that it relied, in good faith, upon

Guardsman’s conduct or statements. Indeed, both parties had a contractual relationship for twenty

years in which NFM continually reinvested the Trade Program funds. Nothing in the record

indicates that the mere reference of a 5% rebate in the Vendor Participation Agreement or the

“Funding Program” document induced reliance on the part of NFM. Neither the Vendor

Participation Agreement nor the Funding Program document even mentions the Trade Program.

Indeed, although NFM argues that, in the Vendor Participation Agreement, Guardsman “agreed”

that the Trade Program funds were a rebate that did not require reinvestment, it still reinvested the

Trade Program funds in 2019, the same year in which the Vendor Participation Agreement was

signed. Moreover, NFM has provided no explanation and cited no evidence showing that it acted

to its detriment in response to Guardsman’s conduct. The lack of evidence that NFM acted to its

detriment is also fatal to its request to apply equitable estoppel. Accordingly, no reasonable jury

could find that Guardsman is equitably estopped from denying that, under the Retailer Agreement,

it must pay NFM a five percent rebate for 2020. See Erickson, 31 F.4th at 1048 (“[I]f a nonmoving

party who has the burden of persuasion at trial does not present sufficient evidence as to any

element of the cause of action, then summary judgment is appropriate.” (quoting Wagner v.

Campbell, 779 F.3d 761, 766 (8th Cir. 2015)).

       Guardsman is also entitled to summary judgment on NFM’s promissory estoppel claim.

The Nebraska Supreme Court has explained:

       Recovery on a theory of promissory estoppel is based upon the principle that
       injustice can be avoided only by enforcement of a promise. Under the doctrine of
       promissory estoppel, a promise which the promisor should reasonably expect to
       induce action or forbearance is binding if injustice can be avoided only by
       enforcement of the promise . . . . Under this theory, the main focus is on reasonable
       reliance.




                                                 18
8:21-cv-00192-BCB-CRZ          Doc # 37      Filed: 07/22/22     Page 19 of 20 - Page ID # 287




In re Est. of Ryan, 925 N.W.2d 336, 343 (Neb. 2019) (internal footnotes omitted). The elements

for a claim of promissory estoppel are “(1) a promise that the promisor should have reasonably

expected to induce the plaintiff's action or forbearance, (2) the promise did in fact induce the

plaintiff’s action or forbearance, and (3) injustice can only be avoided by enforcing the promise.”

deNourie & Yost Homes, LLC v. Frost, 854 N.W.2d 298, 318 (Neb. 2014).

        NFM claims that “by executing the [“Funding Program” document], Guardsman promised

that it would pay NFM a 5% rebate for the 2020 calendar year.” Filing 1 at 8. Like its request to

apply equitable estoppel, NFM fails to address this claim in its briefing. See Whittington, 21 F.4th

at 1002 n.4. NFM has pointed to no evidence to support its claim for promissory estoppel. See

Paskert, 950 F.3d at 540. For example, NFM has produced no evidence that Guardsman reasonably

expected that NFM would act or refrain from acting in some way based on the “5% rebate”

statement in the “Funding Program” document. See Erickson, 31 F.4th at 1048. Instead, the record

shows that both parties had been engaged in an uninterrupted twenty-year contractual relationship

prior to this suit. Filing 25 at 7. During that relationship, NFM had executed contracts with the

same terms regarding the Trade Program for multiple years. Filing 26-4 at 2. There is no evidence

that, after multiple years of operating the Trade Program as written, Guardsman would reasonably

expect that NFM would believe any change to the Trade Program was occurring because of the

“5% rebate” statement in the “Funding Program” document. It was NFM’s burden on summary

judgment to cite evidence in support of its promissory estoppel claim, and it has cited none. See

id. Accordingly, Guardsman is entitled to summary judgment on NFM’s promissory estoppel

claim

                                     IV.     CONCLUSION

        Guardsman is entitled to summary judgment on all of NFM’s claims. Accordingly,



                                                19
8:21-cv-00192-BCB-CRZ        Doc # 37      Filed: 07/22/22   Page 20 of 20 - Page ID # 288




      IT IS ORDERED:

      1. Guardsman’s Motion for Summary Judgment, Filing 24, is granted;

      2. Nebraska Furniture Mart’s Motion for Summary Judgment, Filing 27, is denied;

      3. Nebraska Furniture Mart’s Complaint, Filing 1, is dismissed with prejudiced; and

      4. The Court will enter a separate judgment.


      Dated this 22nd day of July, 2020.

                                                  BY THE COURT:


                                                  __________________________
                                                  Brian C. Buescher
                                                  United States District Judge




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